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 5                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 6                                          AT SEATTLE

 7
     UNITED STATES OF AMERICA,
 8                                                               No. CR20-151RAJ
                                         Plaintiff,
 9                                                               NOTICE OF APPEARANCE
            v.
10
     JOSEPH NILSEN,
11
                                      Defendant.
12

13
      TO:    Clerk of the Court; and
14
      TO:    Brian T. Moran, United States Attorney:
15
                 PLEASE TAKE NOTICE that the LAW OFFICE OF ROBERT FLENNAUGH II,
16
      PLLC and Robert Flennaugh II, hereby appear as counsel for Defendant Nilsen.
17
                 All further ECF district court filings, papers, pleadings, court documents, and
18
      correspondence in this matter, exclusive of service of process, may be served upon Mr. Nilsen
19
      leaving a copy thereof with his attorneys at their address below stated.
20
                 DATED this 14th day of October, 2020.
21
                                                        Respectfully submitted,
22
                                                        (s) Robert Flennaugh II      ________
23                                                      Robert Flennaugh II, WSBA # 26764
                                                        Attorney for Defendant Nilsen
24                                                      Law Office of Robert Flennaugh II, PLLC
                                                        810 3rd Avenue, Suite 500
25                                                      Seattle, WA 98104
                                                        Phone: 206-447-7422 Fax: 206-447-7534
26                                                      Email: Robert@flennaughlaw.com


      NOTICE OF APPEARANCE - 1                                 LAW OFFICE OF ROBERT FLENNAUGH II, PLLC
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      Case No. CR20-151 RAJ                                                 Seattle, WA 98104
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